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NORTHERN DISTRICT OF TEXAS
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IN THE UNITED STATES DISTRICT GOURT! > ~ = only |
FOR THE NORTHERN DISTRICT OF EXAS |

DALLAS DIVISION : CLERK, U Ss DISTRICT.COU {T°
S : . By

    

Deputy

 

UNITED STATES OF AMERICA
Vv.

ALFREDO NAVARRO HINOJOSA (9) CRIMINAL NO. 3:16-CR-536-L
MIGUEL CASAS (10)

MARTIN SALVADOR RODRIGUEZ,
aka “CHAVA” (11)

HUMBERTO BALTAZAR NOVOA (12)

 

EDDIE VILLARREAL (13)
Supersedes Indictment as to new
CRAIG WOODS (14) defendants that was returned on
D ber 6, 2016
ELOY ALVARADO MONTANTES, “—
aka “DON LOY” (15) Supersedes charges that were
returned on December 6, 2016, as
JOSE OMAR SANTOYO SALAS, to Defendant Cesar Mendez (3)
aka “OMAR SALAS” (16)

 

 

 

ERICK JOHAN LOPEZ CUELLAR,
aka “ERICK LOPEZ” (17)

RAUL NUNEZ
aka “JUNIOR” (18)

CESAR MENDEZ (3)

 

SUPERSEDING INDICTMENT
The Grand Jury Charges:
Introduction
1. Defendant Alfredo Navarro Hinojosa (hereinafter “Hinojosa’’) was the

principal and owner of numerous nightclubs and businesses in Texas and elsewhere. In

all, Hinojosa controlled an empire of over forty entities that brought in revenue of

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approximately $107 million between 2014 and 2016.

2. Hinojosa’s businesses dealt in large volumes of cash, which Hinojosa used
as a means for hiding the true nature of certain cash deposits from government regulators.
Hinojosa and others, including defendant Humberto Baltazar Novoa, explicitly
discussed laundering cash to hide it from government regulators. Hinojosa and his
managers (identified below) used a variety of other techniques, including the use of
dozens of shell companies, unusual deposits and transfers, and the transportation of cash
from location to location, to conceal certain business activities.

3. Hinojosa and Novoa engaged in business transactions with bands who
traveled back and forth to Mexico. These transactions included explicit attempts to
launder money for at least one band or for entities that were using the band.

4, Several of the nightclubs controlled by Hinojosa — including the OK Corral
nightclub (Dallas), Far West nightclub (Dallas), and OK Corral nightclub (Fort Worth),
were located in the Dallas-Fort Worth Metroplex and were open for business on Fridays,
Saturdays, and occasionally on Sundays. These clubs derived revenue from door sales,
the sale of alcohol, and other promotions. As such, the number of customers visiting the
nightclubs was the primary driver of profits at the clubs.

5. Hinojosa hired and was supported by a group of close advisors and family
members — including defendants Miguel Casas, Martin Salvador Rodriguez, aka

“Chava,” Humberto Baltazar Novoa, Josephine Hinojosa, and others.

6. Hinojosa was a hands-on manager who was deeply familiar with the inner-.

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workings of his businesses.

7. In an effort to promote and guarantee profits at his nightclubs, Hinojosa
and his managers — including Casas and Rodriguez — openly allowed cocaine to be sold
to nightclub patrons. As Hinojosa was recorded saying: “we can’t really clean it [up -
the cocaine sales] because then we lose business . . . man, they got to do business, I told
them we don’t care... we just don’t want for everybody to see him .... They want it
[cocaine] right there. They don’t want to go looking downtown.” In effect, as Hinojosa
stated on numerous occasions, if he and his security staff stopped such sales, Hinojosa
and his business partners would obtain fewer profits at his nightclubs.

8. Cocaine was sold in baggies that cost $20. Dealers would sell
approximately 100-200 baggies of cocaine each weekend that the club was open. Over
the time period covered by this superseding indictment, this amounted to multiple
kilograms of cocaine being sold through the clubs for hundreds of thousands of dollars.

9. Hinojosa, Casas, and Rodriguez permitted certain selected individuals to
sell cocaine inside the nightclubs and excluded other dealers. The manner and means of
selling the cocaine was similar in each club. The cocaine dealers and their suppliers
included, but were not limited, to the following defendants and individuals: Eloy
Alvarado Montantes, aka “Don Loy,” Jose Omar Santoyo Salas, aka “Omar Salas,”
Erick Johan Lopez Cuellar, aka “Erick Lopez,” Raul Nunez, aka “Junior,” Cesar

Mendez, Juan Antonio Lara, Jose Javier Mendoza-Martinez, aka “Grenas,” Humberto

Ovila-Cruz, and Mauricio Garcia-Mentado.

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10. Although Hinojosa and these managers did not personally sell or handle
cocaine, and did not take a direct cut of the cash obtained from the cocaine sales,
Hinojosa, Casas, and Rodriguez relied on drug sales inside the nightclubs to drive
profits at the clubs. They knowingly permitted and provided a means for such drug sales
to continue at the clubs they owned and operated.

Defendants, Co-Conspirators, and Entities

At all times relevant to this Indictment:

11. Defendant Alfredo Navarro Hinojosa was a resident of Dallas, Texas.
Hinojosa was the principal and owner of numerous nightclubs and businesses in Texas
and elsewhere. This included, but was not limited to, (a) the Far West nightclub (Dallas),
(b) the OK Corral nightclub (Fort Worth), (c) and the OK Corral nightclub (Dallas).
Hinojosa partnered with other individuals in these businesses, but maintained primary
control over the operations of these businesses. Hinojosa utilized an office located at
201 North Harwood Street in downtown Dallas as his headquarters and personal office.
Another nightclub, owned and operated by Hinojosa, named Medusa, was located next
door to the Hinojosa headquarters and personal office.

12. Defendant Miguel Casas was a resident of Dallas, Texas. Casas started
working for Hinojosa as a bartender, and was continually promoted until he was made
General Manager of the nightclubs owned and operated by Hinojosa in Dallas. Casas
was also the co-manager of the Far West nightclub (Dallas), Far West nightclub (Dallas),

and Medusa nightclub (Dallas). Floor managers of each nightclub reported to Casas.

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13. Defendant Martin Salvador Rodriguez, aka “Chava,” was a resident of
Dallas, Texas. Rodriguez worked for Hinojosa since the 1980s. Rodriguez was the co-
manager of the Far West nightclub (Dallas), and was responsible for weekly and monthly
promotions that were offered at the nightclubs owned and operated by Hinojosa.

14. Defendant Humberto Baltazar Novoa was a resident of Dallas, Texas.
Novoa was a business partner of Hinojosa and also worked as a band promoter. Novoa
worked for Hinojosa since the late 1990s. Novoa also worked out of 201 North
Harwood Street in downtown Dallas.

15. Defendant Edward Villarreal was a resident of Carrolton, Texas.
Villarreal was an officer of the Dallas Police Department between September 1994 and
October 2015. Between 2001 and 2017, Villarreal also worked as a security consultant
and the head of security for Hinojosa. Villarreal used his position as a Dallas Police
Officer to benefit Hinojosa.

16. Defendant Craig Woods was a resident of Dallas, Texas. Woods was an
officer of the Dallas Police Department between October 5, 1981, and March 4, 2017.
Between approximately 2001 and 2017, Woods also served as private security guard at
the Far West nightclub (Dallas). Woods used his position as a Dallas Police Officer to
further his work for Hinojosa.

17. Defendant Eloy Alvarado Montantes, aka “Don Loy,” was a resident of
Grand Prairie, Texas, and was a cocaine and methamphetamine dealer. Montantes

supplied cocaine and methamphetamine to other individuals.

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18. Defendant Jose Omar Santoyo Salas, aka “Omar Salas” was a resident
of Arlington, Texas, and was a cocaine and methamphetamine dealer. Salas was
supplied cocaine by Montantes. Salas supplied cocaine to other individuals, who served
as cocaine dealers in the bathrooms of the OK Corral nightclub (Fort Worth).

19. Defendant Erick Johan Lopez Cuellar, aka “Erick Lopez,” was a
resident of Fort Worth, Texas. Cuellar worked as a security guard and transported
cocaine to the bathrooms at the OK Corral nightclub (Fort Worth).

20. Defendant Raul Nunez, aka “Junior,” was a resident of Grand Prairie,
Texas and Midlothian, Texas. Nunez worked as a cocaine dealer in the bathrooms at the
OK Corral nightclub (Fort Worth).

21. Defendant Cesar Mendez was a resident of Dallas, Texas. Mendez
worked as a cocaine dealer at the Far West nightclub (Dallas) and the OK Corral
nightclub (Dallas).

22. Juan Antonio Lara was a resident of Plano, Texas. Lara initially worked as
a cocaine dealer in the bathrooms at the OK Corral nightclub (Dallas) and the Far West
nightclub (Dallas). Lara eventually took over the role as the supervisor of other cocaine
dealers in the bathrooms of these two nightclubs. Lara was previously charged in this
same case and pled guilty to possessing cocaine with an intent to distribute that cocaine.

23. Jose Javier Mendoza-Martinez, aka “Grenas,” was a resident of Garland,
Texas. Mendoza-Martinez worked as a cocaine dealer in the bathrooms of the Far West

nightclub (Dallas) and OK Corral nightclub (Dallas). Mendoza-Martinez was supplied

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cocaine by Lara. Mendoza-Martinez was previously charged in this same case and pled
guilty to possessing cocaine with an intent to distribute that cocaine.

24. Humberto Ovila-Cruz was a resident of Dallas, Texas, and worked as a
cocaine dealer in the bathrooms of the Far West nightclub (Dallas) between 2013 and
2016, with certain gaps in between. Ovila-Cruz was supplied cocaine by an associate of
Lara. Ovila-Cruz was previously charged in this same case and pled guilty to possessing
cocaine with an intent to distribute that cocaine.

25. Mauricio Garcia-Mentado was a resident of Dallas, Texas, and worked as a
cocaine dealer in the bathrooms at the OK Corral nightclub (Dallas). Mendoza-Martinez
was supplied cocaine by Lara. Garcia-Mentado was previously charged in this same case
and pled guilty to possessing cocaine with an intent to distribute that cocaine.

26. Josephine Hinojosa was a resident of Dallas, Texas. Josephine Hinojosa
was the niece of defendant Alfredo Navarro Hinojosa and worked a bookkeeper for
Alfredo Navarro Hinojosa at the 201 North Harwood Street headquarters in Dallas. On
February 1, 2017, Josephine Hinojosa was arrested as she was traveling from Dallas to
North Carolina. Josephine Hinojosa, along with two other individuals, were in
possession of approximately fourteen kilograms of cocaine and an electronic copy of the
certain books and records associated with the businesses operated by Alfredo Navarro
Hinojosa. Josephine Hinojosa was charged in Case No. 3:17-CR-107 in the Northern
District of Texas and pled guilty to possessing cocaine with an intent to distribute that

cocaine.

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27. The OK Corral nightclub (Dallas) was located at 10733 Spangler Road in
Dallas, Texas.

28. The Far West nightclub (Dallas), also known as the Far West Discotheque,
was located at 400 South Buckner Boulevard in Dallas, Texas. It had previously been
located at 7331 Gaston Avenue in Dallas, Texas. The Far West nightclub (Dallas) moved
from the Gaston Avenue location to the South Buckner location in or around the second
half of 2012 and into the early months of 2013.

29. The OK Corral nightclub (Fort Worth) was located at 4200 South Freeway
in Fort Worth, Texas. It also did business as the OK Corral-Babilonia. |

30. The Medusa nightclub in Dallas was located at Pacific Ave in Dallas,
Texas, which was next door to 201 North Harwood Street, Dallas Texas, which served as

Hinojosa’s headquarters and personal office.

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COUNTS ONE THROUGH NINETEEN
Managing a Drug Premises
[Violation of 21 U.S.C. § 856(a)(2) and 18 U.S.C. § 2]

31. . The allegations contained in paragraphs | through 30 are realleged and
fully incorporated herein.

32. On or about the dates listed below, in the Northern District of Texas, the
defendants listed below, did unlawfully and knowingly manage and control the places
listed below as an owner, lessee, agent, employee, occupant, or mortgagee, and did
knowingly and intentionally rent, lease, profit from, or make available for use the places

listed below for the purpose of unlawfully distributing cocaine, a controlled substance,

and knowingly allow others to engage in such activity:

 

 

Count Date - Place Defendants _
| Alfredo Navarro Hinojosa

1 1/18/2013 Far West nightclub (Dallas) Miguel Casas

Martin Salvador Rodriguez

 

 

Alfredo Navarro Hinojosa
2 2/8/2013 Far West nightclub (Dallas) Miguel Casas
Martin Salvador Rodriguez

 

Alfredo Navarro Hinojosa
3 5/17/2013 Far West nightclub (Dallas) Miguel Casas
Martin Salvador Rodriguez

 

Alfredo Navarro Hinojosa
4 6/8/2013 Far West nightclub (Dallas) Miguel Casas
Martin Salvador Rodriguez

 

Alfredo Navarro Hinojosa
5 6/9/2013 OK Corral nightclub (Dallas) |Miguel Casas

 

 

 

 

 

Martin Salvador Rodriguez

 

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Count

Date

Place

 

Defendants tt

 

11/16/2013

Far West nightclub (Dallas) -

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

11/16/2013

OK Corral nightclub (Dallas)

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

1/18/2014

Far West nightclub (Dallas)

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

1/19/2014

OK Corral nightclub (Fort Worth)

Alfredo Navarro Hinojosa

 

10

1/19/2014

OK Corral nightclub (Dallas)

‘Alfredo Navarro Hinojosa

Miguel Casas
Martin Salvador Rodriguez

 

11

1/25/2014

OK Corral nightclub (Fort Worth)

Alfredo Navarro Hinojosa

 

12

3/22/2014

Alfredo Navarro Hinojosa

 

13

4/25/2014

OK Corral nightclub (Fort Worth)
OK Corral nightclub (Fort Worth)

Alfredo Navarro Hinojosa

 

14

4/25/2014

Far West nightclub (Dallas)

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

15

10/18/2014

Far West nightclub (Dallas)

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

16

3/21/2015

OK Corral nightclub (Dallas)

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

17

3/21/2015

Far West nightclub (Dallas)

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

18

3/22/2015

OK Corral nightclub (Dallas)

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

19

 

 

10/14/2016

 

OK Corral nightclub (Dallas)

 

Alfredo Navarro Hinojosa
Miguel Casas
Martin Salvador Rodriguez

 

All in violation of 21 U.S.C. § 856(a)(2) and 18 U.S.C. § 2.

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COUNT TWENTY
Conspiracy to Manage a Drug Premises
[Violation of 21 U.S.C. § 846 (21 U.S.C. § 856(a)(2))]

33. The allegations contained in paragraphs 1 through 32 are realleged and
fully incorporated herein.

34. Between in or about June 2012, and until in or about May 2017, in the
Northern District of Texas and elsewhere; the defendants, Alfredo Navarro Hinojosa,
Miguel Casas, and Martin Salvador Rodriguez, aka “Chava,” knowingly and
intentionally combined, conspired, confederated and agreed with other persons known
and unknown to the Grand Jury, to manage and control certain nightclubs, including the
Far West nightclub (Dallas), the OK Corral nightclub (Dallas), and the OK Corral
nightclub (Fort Worth), as an owner, lessee, agent, employee, occupant, or mortgagee,
and to knowingly and intentionally rent, lease, profit from, and make available for use in
the aforementioned nightclubs for the purpose of unlawfully distributing cocaine, a

controlled substance, in violation of 21 U.S.C. § 856(a)(2).

All in violation of 21 U.S.C. § 846.

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COUNT TWENTY-ONE
Conspiracy to Structure Transactions to Evade Reporting Requirements
[Violation of 18 U.S.C. § 371 (31 U.S.C. § 5324(a)(2))]

35. The allegations contained in paragraphs 1 through 34 are realleged and
fully incorporated herein.

36. In or about May 2015, in the Dallas Division of the Northern District of
Texas, the defendants, Alfredo Navarro Hinojosa, Humberto Baltazar Novoa, and
others known and unknown to the Grand Jury, conspired and agreed with each other to
knowingly and intentionally commit against the United States the offense of structuring,
attempting to structure, and assisting in structuring transactions with domestic financial
institutions for the purpose of evading the reporting requirements of 31 U.S.C. § 5313(a),
in violation of 31 U.S.C. § 5324(a)(2).

Means by Which the Object of the Conspiracy was to be Accomplished

37. The object of the conspiracy was to be accomplished, in substance, as
follows:

a. Hinojosa maintained a bank account at Regions Bank in Dallas, Texas,
under account number XXXXXX0876, for an entity controlled by Hinojosa and known
as Multi-Events Arena, Ltd. Regions Bank was a domestic financial institution.

b. Novoa was a partial owner and manager of a band named La Energia

Nortena (the “Band”’).

c. Novoa intended to purchase a touring bus for the Band for $140,725 but

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sought to disguise the source of the funds used to purchase the bus.

d. Novoa approached Hinojosa, while they were working at the 201 North
Harwood headquarters, and asked Hinojosa to “launder” approximately $100,000 in
currency for Novoa for purposes of purchasing the bus.

e. Novoa sought to have Hinojosa launder the money to avoid triggering |
Region’s Bank’s obligation to file a Currency Transaction Report(s) (“CTR”) that would
identify Novoa and the Band as the source of the funds. Hinojosa agreed to perform the
transactions as requested by Novoa.

f. Novoa provided approximately $100,000 in cash to Hinojosa. Hinojosa
agreed to perform the transactions as requested by Novoa.

g. Hinojosa directed other individuals, including Casas, to deposit the
approximately $100,000 in cash into a bank account controlled by Hinojosa. The
$100,000 was split into two separate deposits at two different branches of Regions Bank
on consecutive days.

h. Neither Hinojosa, Novoa, nor those making the deposits at Hinojosa’s
direction, notified Regions Bank that these deposits belonged to Novoa or the Band.

i. Asa result of these deposits and activities by Hinojosa, Novoa, and Multi-
Events Arena, Ltd., Regions Bank filed two CTR’s that did not identify the true source of
the funds. These were material misstatements as to the true beneficiaries of the cash.

These material misstatements were caused by Hinojosa and Novoa.

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Overt Acts
38. In furtherance of the conspiracy and to accomplish the objects of the
conspiracy, the defendants, Hinojosa, Novoa, and others known and unknown to the
Grand Jury, committed and caused to be committed various overt acts within the
Northern District of Texas, and elsewhere, namely, deposits of United States currency as
follows:

e Overt Act 1 —- On May 21, 2015, $60,000 in U.S. Currency was deposited
into Regions Bank Account Number XXXXXX0876. The account
belonged to Multi-Events Arena, Ltd., a “Performance Theater” business,
controlled and operated by Hinojosa. The deposit was made by Miguel
Casas at the 1717 McKinney Street Branch of Regions Bank.

e Overt Act 2—On May 22, 2015, $40,725 in U.S. Currency was deposited
into Regions Bank Account Number XXXXXX0876. The account
belonged to Multi-Events Arena, Ltd., a “Performance Theater’ business,
controlled and operated by Hinojosa. The deposit was made by an
individual identified here as G.S. at the 1111 West Mockingbird Lane
Branch of Regions Bank.

All in violation of 18 U.S.C. § 371 [31 U.S.C. § 5324(a)(2)].

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COUNT TWENTY-TWO
False Statement in Immigration Document
[Violation of 18 U.S.C. § 1015(a)]

39. The allegations contained in paragraphs 1 through 38 are realleged and
fully incorporated herein.

40.  Onor about June 13, 2013, in the Northern District of Texas and elsewhere,
the defendant, Humberto Baltazar Novoa, under penalty of perjury, and pursuant to
section 1746 of Title 28, United States Code, did knowingly subscribe as true a false
statement in a document required by the immigration laws of the United States or
regulations prescribed thereunder with respect to a fact relating to the registry of aliens by
the Department of Homeland Security.

41. More specifically, Novoa completed an Application to Register Permanent
Residence or Adjust Status (“I-485”). On the form, Novoa was asked whether he had
ever been arrested, cited, charged, indicted, convicted, fined, or imprisoned for breaking
or violating any law or ordinance, excluding traffic violations. Novoa truthfully
answered “Yes.” But when an applicant answers “Yes” to that question, they are
required to explain the answer in an attachment. In his attachment, Novoa identified a
DWI arrest in September 2011, the fact that he had been detained by ICE in March 2008,

and an April 2013 arrest for traffic violations. But Novoa knowingly failed to identify

multiple arrests related to domestic violence, including arrests in 2008 and 2009.

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Novoa’s answer on the attachment was false and Novoa knew it was false.

All in violation of 18 U.S.C. § 1015(a).!

 

I See United States v. Youssef, 547 F.3d 1090 (9th Cir. 2008).

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COUNT TWENTY-THREE
Making a False Statement to the FBI
[Violation of 18 U.S.C. § 1001]

42. The allegations contained in paragraphs 1 through 41 are realleged and
fully incorporated herein.

43. On or about May 7, 2015, in the Dallas Division of the Northern District of
Texas and elsewhere, the defendant, Edward Villarreal, in a matter within the
jurisdiction of the Federal Bureau of Investigation (“FBI”), did knowingly and willfully
falsify, conceal, and cover up material facts by trick, scheme, and device, and make
materially false, fictitious, and fraudulent statements and representations, in violation of
18 U.S.C. § 1001.

44. More specifically, in or about April 2015, while the Federal Bureau of
Investigation (“FBI”) was performing an investigation into Alfredo Navarro Hinojosa,
Martin Salvador Rodriguez, aka “Chava,” and others, Villarreal became aware of the
investigation, contacted the FBI agents investigating the matter, and offered to assist in
the investigation. The FBI provided certain information related to the investigation to
Villarreal, who then immediately passed it on to a target of the investigation, Alfredo
Navarro Hinojosa.

45. During their conversations regarding the FBI, Hinojosa questioned

Villarreal about what law enforcement would do and the likelihood that the FBI would

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find evidence against certain targets of the investigation.
46. On May 7, 2015, Villarreal was questioned by the FBI about whether he
(Villarreal) had passed the information provided to him by the FBI to Villarreal on to

Hinojosa. Villarreal falsely told the FBI he had not.

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COUNT TWENTY-FOUR
Making a False Statement to the FBI
[Violation of 18 U.S.C. § 1001]

47. The allegations contained in paragraphs 1 through 46 are realleged and
fully incorporated herein.

48. On or about February 24, 2017, in the Dallas Division of the Northern
District of Texas and elsewhere, the defendant, Craig Woods, in a matter within the
jurisdiction of the Federal Bureau of Investigation (“FBI”), did knowingly and willfully
falsify, conceal, and cover up material facts by trick, scheme, and device, and make
materially false, fictitious, and fraudulent statements and representations, in violation of
18 U.S.C. § 1001.

49. More specifically, after being warned that it was a federal crime to lie to the
FBI, Woods falsely stated to the FBI that: (1) he was not aware of any officers changing,
downplaying or falsifying reports related incidents at clubs controlled by Alfredo
Navarro Hinojosa, and (2) he had never written any police report and did not know how
to write a police report. Woods made these statements despite having personally
authored a police report which downplayed a violent incident at the Far West nightclub

(Dallas). Woods wrote the report in a manner designed to deflect law enforcement

attention away from the nightclub and its owner, Alfredo Navarro Hinojosa.

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COUNT TWENTY-FIVE
Conspiracy to Possess with Intent to Distribute a Controlled Substance
[Violation of 21 U.S.C. § 846 and 18 U.S.C. § 2]

50. The allegations contained in paragraphs 1 through 49 are realleged and
fully incorporated herein.

51. | Between in on or about August 2012, and in or about May 2017, in the
Dallas Division of the Northern District of Texas and elsewhere, the defendants, Alfredo
Navarro Hinojosa, Miguel Casas, Martin Salvador Rodriguez, aka “Chava,” Eloy
Alvarado Montantes, aka “Don Loy,” Jose Omar Santoyo Salas, aka “Omar Salas,”
Erick Johan Lopez Cuellar, aka “Erick Lopez,” Raul Nunez, aka “Junior,” and
Cesar Mendez, aided and abetted by each other, knowingly and intentionally combined,
conspired, confederated and agreed with each other and with other persons known and |
unknown to the Grand Jury, to possess with intent to distribute five kilograms or more of
a mixture or substance containing a detectable amount of cocaine, a Schedule II

controlled substance, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A).

All in violation of 21 U.S.C. § 846, and 18 U.S.C. § 2.

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COUNTS TWENTY-SIX THROUGH THIRTY-TWO
Possession with Intent to Distribute a Controlled Substance
[Violation of 21 U.S.C. § 841(a)(1) & (b)(1)(C) and 18 U.S.C. § 2]
52. The allegations contained in paragraphs 1 through 51 are realleged and
fully incorporated herein.
53. On or about the dates listed below, in the Northern District of Texas and
elsewhere, the defendants listed below, knowingly possessed with intent to distribute a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance, in violation of 21 U.S.C. §§ 841 (a)(1) and (b)(1)(C) and 18 U.S.C. § 2.

   

Je!

Jose Omar Santoyo
26 | Salas, aka "Omar _ February 7, 2014
Salas"

Jose Omar Santoyo
27 ‘| Salas, aka "Omar February 25, 2014
Salas"

Jose Omar Santoyo
28 Salas, aka "Omar March 13, 2014
Salas"

29 Erick Lopez Cuellar,
aka "Erick Lopez"

 

 

 

January 25, 2014

 

39 | Raul Nunez, aka March 22, 2014

 

 

 

 

 

 

"Junior"
31 | Cesar Mendez April 25, 2014
32 Cesar Mendez March 21, 2015

 

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COUNT THIRTY-THREE
Possession with Intent to Distribute a Controlled Substance
[Violation of 21 U.S.C. § 841(a)(1) & (b)(1)(C)]

54. The allegations contained in paragraphs | through 53 are realleged and
fully incorporated herein.

55. On or about May 22, 2014, in the Dallas Division of the Northern District
of Texas and elsewhere, the defendant, Eloy Alvarado Montantes, aka “Don Loy,”
knowingly possessed with intent to distribute a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in violation

of 21 U.S.C. § 841(a)(1) & (b)\(1\(C).

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Forfeiture Notice
[21 U.S.C. § 853(a)]

56. . Upon conviction for any of the offenses alleged in Counts One through
Twenty and Twenty-Five through Thirty-Three of this Indictment and pursuant to 21
U.S.C. § 853(a), the defendants, Alfredo Navarro Hinojosa, Miguel Casas, Martin
Salvador Rodriguez, aka “Chava,” Eloy Alvarado Montantes, aka “Don Loy,” Jose
Omar Santoyo Salas, aka “Omar Salas,” Erick Johan Lopez Cuellar, aka “Erick
Lopez,” Raul Nunez, aka “Junior,” and Cesar Mendez, shall forfeit to the United States
of America all property, real or personal, constituting, or derived from, the proceeds
obtained, directly or indirectly, as a result of the respective offense, as well as any property,
real or personal, used or intended to be used, in any manner or part, to commit or facilitate
the commission of the respective offense.

57. Upon conviction for the offense alleged in Count Twenty-One of this
Indictment and pursuant to 31 U.S.C. § 5317(c)(1), the defendants, Alfredo Navarro
Hinojosa and Humberto Baltazar Novoa, shall forfeit to the United States of America all

property, real or personal, involved in the offense and any property traceable thereto.

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ERIN NEALY COX
UNITED STATES ATTORNEY

2)

P.J. MEITL

Assistant United States Attorney
District of Columbia Bar No. 502391
Virginia Bar No. 73215

1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214.659.8680

Facsimile: 214.659.8812

Email: philip.meitl@usdoj.gov

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JO ELAGARZ
TexasState Bar No.
Assistant United States\Attorhey
1100 Commerce Street, Thixd Rloor
Dallas, Texas 75242-1699
Telephone: 214.659.8600
Facsimile: 214.659.8809
Email: john.delagarza@usdoj.gov

 

 
   

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A TRUE BILL

FOREPERSON

Assistant United States Attorney
Texas State Bar No. 24032572
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214.659.8600
Facsimile: 214.659.8809

Email: errin.martin@usdoj.gov
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

 

THE UNITED STATES OF AMERICA

Vv.
ALFREDO NAVARRO HINOJOSA (9)

MIGUEL CASAS (10)
MARTIN SALVADOR RODRIGUEZ, aka “CHAVA” (11)
HUMBERTO BALTAZAR NOVOA (12)
EDDIE VILLARREAL (13)
CRAIG WOODS (14)

ELOY ALVARADO MONTANTES, aka “DON LOY” (15)
JOSE OMAR SANTOYO SALAS, aka “OMAR SALAS” (16)
ERICK JOHAN LOPEZ CUELLAR, aka “ERICK LOPEZ” (17)
RAUL NUNEZ, aka “JUNIOR” (18)

CESAR MENDEZ (3)

 

SUPERSEDING INDICTMENT

21 U.S.C. § 856(a)(2) and 18 U.S.C. § 2
Managing a Drug Premises

21 U.S.C. § 846 (21 U.S.C. § 856(a)(2)
Conspiracy to Manage a Drug Premises

18 U.S.C. § 371 (31 U.S.C. § 5324(a)(2)
Conspiracy to Structure Transactions to Evade Reporting Requirements

18 U.S.C. § 1015(a)

False Statement in Immigration Document
Making a False Statement to the FBI
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*

18 U.S.C. § 1001
Making a False Statement to the FBI

21 U.S.C. § 846 and 18 U.S.C. § 2
Conspiracy to Possess with Intent to Distribute a Controlled Substance

21 US.C. § 841(a)(1) & (b)(1)(C) and 18 U.S.C. § 2
Possession with Intent to Distribute a Controlled Substance

21 U.S.C. § 853(a)
Forfeiture Notice

33 Counts

A true bill rendered aD

DALLAS FOREPERSON

 

Filed in open court this 5th day of December, 2017.

 

Warrant to be Issued

 

UNITED STATES MAGISTRATE JUDGE>
Criminal Case Pending: 3:16-CR-536-L
